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               BEFORE THE UNITED STATES JUDICIAL PANEL
                    ON MULTIDISTRICT LITIGATION

 In re: Suboxone Film Marketing,          )
 Sales Practices, and Products            )   MDL Docket No. ___________
 Liability Litigation                     )
                                          )


           BRIEF IN SUPPORT OF MOTION FOR TRANSFER AND COORDINATION
                             UNDER 28 U.S.C. § 1407

      Per 28 U.S.C.§ 1407 and Rule 6.2(a) of the Rules of Procedure of the Judicial

Panel on Multidistrict Litigation, Plaintiffs Jeremy Schie, David Sorensen, Haleigh

Graham, Teresita Badalamenti, Keith King, Santo Pietro, Steve Badalamenti, and

Christian Miller submit this brief in support of their Motion for Transfer and

Coordination for pretrial purposes of all currently field Suboxone film cases identified

in the Schedule of Actions 1 and any subsequently filed tag-along cases involving

similar facts or claims, to the United States District Court for the Northern District

of Ohio.

      There are currently at least 15 Suboxone film actions pending in five judicial

districts in the United States. All actions allege similar wrongful conduct by

Defendants that resulted in similar injuries. Given the nationwide scope of the sale

and promotion of Suboxone film, it is likely that additional actions will be filed in

jurisdictions throughout the United States. Transfer for consolidation or coordination

is appropriate because each of the Actions and tag-along cases arise out of the same




1 The Schedule of Actions is attached as Exhibit A. The Complaints in the Actions

and their related docket sheets are attached as Exhibits A-1 through A-15.


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nucleus of operative facts, arise out of the same alleged wrongful conduct, will involve

the resolution of similar questions of fact and law, and discovery will be substantially

similar and involve many of the same documents and witnesses.

                                    BACKGROUND

      Suboxone film Plaintiffs allege several product-liability claims against

Defendants who designed, manufactured, and sold Suboxone film as a prescription

drug that treats opioid use disorder. 2 Suboxone film is a combination of

buprenorphine and naloxone designed to be ingested through oral absorption.

Buprenorphine can be administered via transdermal patch, buccal or sublingual film,

buccal or sublingual tablets, subdermal or subcutaneous implant, and intravenous or

intramuscular injections.

      Buprenorphine is a partial opioid agonist. It works on the same opioid

receptors in the brain as Oxycontin or heroin. Buprenorphine interacts with those

receptors without producing the same high as opioids. This helps patients suffering

from opioid use disorder to not abuse opioids. Naloxone (commonly known as Narcan)

is not a therapeutic aspect of the product. Rather, it is included to prevent abuse of

buprenorphine, which can be snorted (in tablet form) or dissolved in liquid and

injected. There is a product—Subutex—that is a buprenorphine-only form of the drug,

which does not include naloxone.




2 Patient Information for Suboxone (buprenorphine and naloxone) Sublingual Film

(CIII) (available at https://www.suboxone.com/) (last accessed Nov. 13, 2023).


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      A.       Defendants design Suboxone with an acidic formulation.

      Citric    acid   and   sodium    citrate   are   included   in   the   combined

buprenorphine/naloxone Suboxone film as a “buffer.” This buffer provides a low pH

to maximize absorption of the buprenorphine and minimize absorption of the

naloxone. 3 On the pH scale of acidity or basicity, a pH of less than seven indicates

acidity and more than seven indicates basicity. Suboxone film Plaintiffs allege that

Defendants intentionally selected an acidic pH of 3.5 for Suboxone film to maximize

buprenorphine absorption and minimize naloxone absorption. 4 Plaintiffs allege that

inclusion of these acidic buffers leads to dental erosion and decay.

      B.       Defendants stymie sales of Suboxone tablets to avoid generic
               competition and promote Suboxone film.

      Suboxone was first introduced as an orphan drug in 2002 that was

administered as a dissolvable tablet. 5 Knowing the tablet’s orphan-drug status would

expire in October 2009, Defendants stymied generic competition for Suboxone tablets

by developing Suboxone as a dissolvable film, which the FDA approved on August 30,

2010. 6 Defendants thereafter pressured physicians to switch patients from tablets to



3 US Patent 8,475,832 B2, Myers, et al., Sublingual and Film Compositions, RB
Pharmaceuticals Ltd. (July 2, 2013).
4 Ex. A-1 (Sorenson Compl.) at ¶ 70.

5 U.S. Food & Drug Administration, Search Orphan Drug Designations and

Approvals                   (Suboxone)                 (available                 at
https://www.accessdata.fda.gov/scripts/opdlisting/oopd/detailedIndex.cfm?cfgridkey=
79093) (last accessed Nov. 13, 2023).
6 Aquestive, MonoSol Rx Announces Reckitt Benckiser FDA Approval of Suboxone

Sublingual Film for Treatment of Opioid Dependence (available at
https://aquestive.com/suboxone-sublingual-film-opioid-dependence/) (last accessed
Nov. 13, 2023); Fierce Biotech, Reckitt Benckiser Pharmaceuticals Inc. Receives FDA
Approval for Suboxone® (Buprenorphine and Naloxone) Sublingual Film C-11


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film. And in September 2012, Defendant Reckitt Benckiser announced that it would

discontinue Suboxone tablets within six months. 7 Defendants executed this product

hop under the pretext of alleged “safety” concerns that child access to Suboxone

tablets was more likely compared to Suboxone film, which was individually

packaged. 8 This behavior—crafted solely to secure an even longer period of market

exclusivity and brand-name sale prices than orphan-drug status already provides—

resulted in both criminal and civil repercussions. 9

       In 2020, two Indivior senior executives were criminally charged and convicted

in relation to the product hop from tablets to film. Former medical director Timothy

Baxter pleaded guilty to misdemeanor misbranding for “sending false and misleading

information . . . related to the relative safety of Suboxone Film . . . around children.” 10

The Acting U.S. Attorney explained that Baxter “overstated safety claims” regarding

Suboxone film and contributed to the failure to provide honest and accurate




(Sept. 7, 2010) (available at https://www.fiercebiotech.com/biotech/reckitt-benckiser-
pharmaceuticals-inc-receives-fda-approval-for-suboxone%C2%AE-buprenorphine-
and) (last accessed Nov. 13, 2023).
7 Reuters, Reckitt to discontinue Suboxone tablets in U.S. (Sept. 25, 2012) (available

at        https://www.reuters.com/article/us-reckitt-benckiser/reckitt-to-discontinue-
suboxone-tablets-in-u-s-idINBRE88O0GQ20120925) (last accessed Nov. 13, 2023).
8 Id.

9 Ex. A-1 (Sorenson Compl.), ¶¶ 60–64.

10 U.S. Department of Justice, Former Medical Director of Suboxone Manufacturer

Indivior Sentenced in Connection with Drug Safety Claims (Dec. 17, 2020) (available
at https://www.justice.gov/opa/pr/former-medical-director-suboxone-manufacturer-
indivior-sentenced-connection-drug-
safety#:~:text=Indivior's%20former%20CEO%2C%20Shaun%20Thaxter,for%20both
%20Baxter%20and%20Thaxter.) (last accessed Nov. 13, 2023).


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information about the drug. 11 Baxter was sentenced to six months’ home detention

and 100 hours of community service. Former Indivior CEO Shaun Thaxter pleaded

guilty to the same charge as Baxter and was sentenced to six months in prison and

ordered to pay $600,000 in fines and forfeiture. 12

         Before the criminal cases proceeded against Baxter and Thaxter, the

Department of Justice announced corporate criminal and civil resolutions with

several Defendants by which they would pay in excess of $2 billion, the “second-

largest monetary resolution obtained by the Department of Justice in a case involving

an opioid drug.” 13

         On October 23, 2023, Defendant Indivior settled multiple antitrust lawsuits

related to the tablet-to-film product hop for $385 million. 14 The lawsuits alleged that

Indivior “illegally suppressed generic competition for its opioid addiction treatment

Suboxone.” 15 Various health plans and drug wholesalers claimed Indivior “switched

to an oral film version of Suboxone from a tablet to extend its monopoly” after its

exclusive rights to selling the tablet form expired in 2009. 16




11 Id.

12 Id.

13 Id.

14 Reuters, Indivior to pay $385 million to end final Suboxone monopoly lawsuits (Oct.

24, 2023 (available at https://www.reuters.com/legal/indivior-pay-385-mln-end-
suboxone-monopoly-lawsuits-2023-10-23/) (last accessed Nov. 13, 2023).
15 Id.

16 Id.




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       C.      Defendants learn Suboxone causes dental decay but do nothing
               until the FDA mandated a warning about dental injuries.

       Adverse events and published literature put Defendants on notice that the

Suboxone tablet was associated with dental decay and erosion as early as 2007. 17 The

FDA approved the application for Suboxone film on August 31, 2010. 18 The adverse-

event reports continued after the launch of the film. By the end of 2021, Defendants

were aware of at least 136 reports of adverse dental events in patients taking

Suboxone. 19 The adverse event reports were bolstered by a growing body of literature

demonstrating a connection between Suboxone use and a sudden decline in oral

health. 20

       Based on this information, Defendants should have changed the Suboxone film

prescribing information per the Changes Being Effected (CBE) regulation (21 C.F.R.

§ 314.70(c)(3)) but did not do so until June 2022. 21 Earlier in 2022, the FDA had

advised manufacturers in an official safety communication that information about

the risk of dental problems—including “tooth decay, cavities, oral infections, and loss

of teeth”—should be added to the prescribing information and patient medication




17 Ex. A-1 (Sorenson Compl.) at ¶ 73.

18 Supra, note 8.

19 Ex. A-1 (Sorenson Compl.) at ¶ 82.

20 Id. at ¶¶ 65–66.

21 See Suboxone Updated Prescribing Information (June 2022) (available at
https://www.suboxone.com/pdfs/prescribing-information.pdf), § 5.13 (last accessed
Nov. 13, 2023).


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guide based on the mounting adverse event reports. 22 Defendants finally included

such a warning in prescribing information in June 2022, but the medication guide for

Suboxone film still does not warn of these risks.

      Suboxone film Plaintiffs allege four identical claims: (1) strict products liability

for failure to provide adequate warnings and instructions; (2) negligent failure to

provide adequate warnings and instructions; (3) strict products liability for defective

design; and (4) negligent design defect.

                                  LAW AND ARGUMENT

I.    Consolidation is appropriate to manage the common issues in these
      cases justly and efficiently.

      The fundamental purpose of multidistrict litigation is “to eliminate the

potential for conflicting contemporaneous pretrial rulings by coordinate district and

appellate courts in multidistrict related civil actions.” In re Plumbing Fixture Cases,

298 F. Supp. 484, 491 (J.P.M.L. 1968). The goal of multidistrict litigation is to avoid

“conflicting, disorderly, chaotic judicial action.” Id. at 493. The Panel considers three

factors to determine whether to authorize transfer and coordination of multidistrict

actions. First, whether one or more common questions of fact are pending in different

districts. Second, whether a transfer will serve the convenience of the parties and

witnesses. And third, whether a transfer will promote the just and efficient conduct

of the actions. 28 U.S.C. § 1407(a). Transfer is appropriate because all these factors

weigh in favor of coordination.


22  See FDA Drug Safety Communication (Jan. 12, 2022) (available at
https://www.fda.gov/media/155352/download?attachment) (last accessed Nov. 13,
2023).


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       A.     The Suboxone film actions share common questions of fact.

       Section 1407 does not require a “complete identity or even a majority of

common factual or legal issues as a prerequisite to transfer.” In re Katz Interactive

Call Processing Patent Litig., 481 F. Supp. 2d 1353, 1355 (J.P.M.L. 2007). Transfer

and coordination of the Suboxone film actions is appropriate because the Suboxone

film Plaintiffs share common questions of fact and law, including whether

(1) Suboxone film was defectively designed; (2) Suboxone film has been marketed

with inadequate warnings regarding the risk of dental decay and erosion;

(3) Defendants conducted inadequate testing on Suboxone film before making it

available for use; and (4) Defendants engaged in negligent conduct resulting in

Plaintiffs’ injuries.

       The actions share the same basic factual allegations that Defendants designed,

manufactured, marketed, and sold a defective drug—Suboxone film—without

revealing the serious risk of dental decay it posed. There are also numerous common

questions of fact in the Suboxone film actions, including, for example, (1) when

Defendants first learned of the connection between the use of Suboxone film and

dental decay; (2) whether Suboxone film is defective in design because of its

propensity to cause adverse effects on oral health where safer forms of administration

were available and previously approved by the FDA; (3) whether Suboxone film is

defective and unreasonably dangerous because any benefits associated with the film

are far outweighed by the risks associated with its use; (4) whether Defendants failed

to adequately warn physicians and consumers about the increased risk of dental

injuries with Suboxone film use; (5) whether and to what extent Defendants used


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spurious means to remove Suboxone tablets from the market in order to avoid generic

competition and further promote the Suboxone film without adequate warnings; and

(6) whether and to what extent Suboxone film causes dental decay and erosion.

      All Suboxone film actions also share the same basic legal theory of liability.

Specifically, that Defendants failed to warn adequately physicians and consumers

about the risk of dental decay and erosion caused by Suboxone film, that Defendants

failed to adequately test Suboxone film to fully elucidate the risk of permanent dental

damage, that Defendants failed to provide proper instructions on the safe use of

Suboxone film to avoid serious dental damage, and that Defendants defectively

designed Suboxone film.

      Each Plaintiff alleges claims for failure to warn and design defect and all

Plaintiffs allege that use of a single drug, Suboxone film, caused a signature injury,

dental decay and erosion. More particular individual injuries “and medical histories

are not an obstacle to centralization when, as here[,] the actions share a common

factual core.” In re Gardasil Prod. Liab. Litig., 619 F. Supp. 3d 1356, 1357 (J.P.M.L.

2022) (quoting In re Zostavax (Zoster Vaccine Live) Prods. Liab. Litig., 330 F. Supp.

3d 1378, 1379 (J.P.M.L. 2018)). Alleging a common mechanism for Plaintiffs’

injuries—the acidity of Suboxone film—makes centralization appropriate. See also In

re Bard Implanted Port Catheter Prod. Liab. Litig., No. MDL 3081, 2023 WL 5065100,

at *1 (J.P.M.L. Aug. 8, 2023). Together, these factual and legal commonalities merit

coordination. See, e.g., In re AndroGel Prod. Liab. Litig., 24 F. Supp. 3d 1378, at 1379

(J.P.M.L. 2014) (centralizing “claims involving all testosterone replacement




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therapies”); In re Zantac (Ranitidine) Prod. Liab. Litig., 437 F. Supp. 3d 1368, 1369

(J.P.M.L. 2020) (centralizing cases against Zantac and other ranitidine medications).

      B.      Transfer will serve the convenience of the parties and promote
              the just and efficient conduct of the actions.

      With these factual similarities, all actions will share the same core discovery,

fact witnesses, and general liability on causation. Further, no case has advanced

beyond the pleading stage, making now the ideal time for transfer. Centralization

now will streamline proceedings, “eliminate duplicative discovery; prevent

inconsistent pretrial rulings; and conserve the resources of the parties, their counsel,

and the judiciary.” In re Uber Techs., Inc., Passenger Sexual Assault Litig., No. MDL

3084, --- F. Supp. 3d ---, 2023 WL 6456588, at *1 (J.P.M.L. Oct. 4, 2023).

      Formally situating these cases in a single forum will streamline the discovery

process. As discussed above, common core discovery will explore the allegations that

Defendants defectively designed Suboxone film with an acidic pH level that causes

severe dental decay, whether Defendants adequately tested Suboxone film, whether

Defendants adequately monitored and reported adverse events relating to the drug’s

effect on oral health, and whether Defendants failed to warn of the risks of dental

decay. Transfer and consolidation will ease the burden of discovery for both Plaintiffs’

and Defendants’ counsel. See, e.g., In re Baldwin-United Corp. Litig., 581 F. Supp.

739, 741 (J.P.M.L. 1984) (noting that “prudent counsel will combine their forces and

apportion the workload in order to streamline the efforts of the parties and witnesses,

their counsel and the judiciary, thereby effectuating an overall savings of case and a

minimum of inconvenience to all concerned”).



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      With 15 Suboxone film actions already pending in five district courts across

the country, the risk of inefficiency and conflicting rulings is high. Coordinated

discovery will benefit all parties, ensuring that depositions of key witnesses can be

completed once. Further, Defendants’ document productions can be reduced to a

single repository to which all Plaintiffs’ counsel have access. The Suboxone film

Plaintiffs will also benefit from coordination amongst the various law firms

representing them. Rather than pursuing disparate strategies in multiple districts,

counsel can combine forces to eliminate duplicative discovery and motion practice

while also avoiding inconsistent rulings.

      Absent centralization, these cases will proceed independently, require

duplicative discovery, including repetitive depositions of the same corporate

personnel and expert witnesses. Transfer also brings the benefit of avoiding

inconsistent rulings among district and appellate courts and economize judicial

resources. All these factors support that the Suboxone film actions are suited for

centralization under 28 U.S.C. § 1407.

II.   The Northern District of Ohio is the most suitable venue for this MDL
      and Judge Calabrese the most suitable jurist to preside.

      Once it is determined that centralization is appropriate, the Panel determines

the most suitable forum to do so. MANUAL FOR COMPLEX LITIGATION (4th), § 22.33, pp.

366–67. Upon transfer, the Panel should centralize these cases in the United States

District Court for the Northern District of Ohio before the Honorable J. Philip

Calabrese.




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        A.      The Northern District of Ohio is the most suitable venue.

        Factors to guide the selection of the most appropriate forum include: (1) the

location of parties, witnesses, and documents; (2) the accessibility of the proposed

transferee district to parties and witnesses; and (3) the respective caseloads of the

proposed transferee district courts. See In re Corn Derivatives Antitrust Litig., 486 F.

Supp. 929, 931–32 (J.P.M.L. 1980) (discussing factors). A forum that satisfies these

factors and that already has pending cases is favorable. See MANUAL FOR COMPLEX

LITIGATION (4th), § 20.131, pp. 221 (“The panel uses no single factor to select the

transferee district, but the Panel does consider where the largest number of cases is

pending.”). The most appropriate forum in this instance is the Northern District of

Ohio.

                1.    The Northern District of Ohio is conveniently located for
                      all parties and witnesses.

        The geographic scope of this litigation spans the nation from coast to coast. The

Northern District of Ohio is centrally located and accessible for all parties and

witnesses. Defendants are headquartered in Virginia, the United Kingdom, New

Jersey, and Indiana. The Northern District of Ohio is a geographically central

location to the American Defendants’ various headquarters and therefore convenient

for Defendants. In re Nat’l Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1379

(J.P.M.L. 2017) (ordering consolidation to the Northern District of Ohio where

defendants were headquartered in New York, Connecticut, New Jersey, and

Pennsylvania).




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      Centralization will not be impeded by the presence of more than one

Defendant. Regardless of the number of Defendants, the Suboxone film actions

implicate common fact questions regarding the defective design and improper

marketing of Suboxone film, and the failure to warn of its risks. The potential for

individualized factual issues “do[es] not—especially at this early stage of litigation—

negate the efficiencies to be gained by centralization.” Id. On the other hand, allowing

the cases to proceed independently “raises a significant risk of inconsistent rulings

and inefficient pretrial proceedings.” Id.

             2.     The Northern District of Ohio is accessible for all parties
                    and witnesses.

      Convenience of access is another significant factor in the selection of an MDL

forum. See In re Worldcom, Inc., Sec. & ERISA Litig., 226 F. Supp. 2d 1352, 1355

(J.P.M.L. 2002) (noting the conveniences of a metropolitan area with major airline

service, hotel, and office accommodations). The Northern District of Ohio

encompasses four metropolitan areas: Cleveland, Youngstown, Akron, and Toledo.

The largest number of judges sit in Cleveland, Judge Calabrese among them. With

its main division in Cleveland, the Northern District of Ohio is a convenient forum

for all parties and witnesses. Cleveland is easily accessible by plane. Multiple major

airlines serve the airport and offer numerous non-stop destinations to other major

metropolitan areas. 23 The airport offers 115 daily nonstop departures 24 and



23   Non-Stop Cities (available at https://www.clevelandairport.com/flight-
information/non-stop-cities) (last accessed Nov. 13, 2023).
24 Facts & Figures (available at https://www.clevelandairport.com/about-us/facts-

figures) (last accessed Nov. 13, 2023).


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Cleveland’s airport is centrally located within 500 miles of 43 percent of the United

States population. 25 Further, the airport is just 12 miles away from downtown

Cleveland, where the federal courthouse sits. 26 If visitors do not wish to drive, they

may travel by rail from the airport to Tower City Center, which provides direct access

to the courthouse by an interior pedway connection. Visitors will also find numerous

hotels and office locations within walking distance of the courthouse. The

comparative affordability of northeast Ohio compared to other major metropolitan

areas will serve to conserve the resources of all parties. 27 The Northern District of

Ohio’s central location in a large, but accessible and affordable, city offers convenience

for parties, corporate witnesses, and all counsel.

               3.    The Northern District of Ohio has the capacity and
                     experience to accept a new MDL.

         The Northern District is not overburdened with other MDLs and maintains a

reasonable case load, with 5,679 pending civil cases as of June 20, 2023. 28 With the

appointment last year of three new district judges and seven jurists continuing to

serve on senior status, the district can absorb the burdens of an MDL.


25 Id.

26 Id.

27 See, e.g., Erin McDowell and Erin Snodgrass, The 25 US cities with the lowest cost

of living, Business Insider (Aug. 31, 2022) (ranking three cities in the Northern
District of Ohio—Cleveland (No. 13), Akron (No. 10), and Toledo (No. 6)—among the
most affordable) (available at https://www.businessinsider.com/us-cities-with-the-
lowest-cost-of-living-2016-7) (last accessed Nov. 13, 2023).
28 Table C-1 U.S. District Courts Civil Cases Commenced, Terminated, and Pending

by Jurisdiction During the 12-Month Period Ending June 30, 2023 (available at
https://view.officeapps.live.com/op/view.aspx?src=https%3A%2F%2Fwww.uscourts.g
ov%2Fsites%2Fdefault%2Ffiles%2Fdata_tables%2Fstfj_c1_630.2023.xlsx&wdOrigin
=BROWSELINK) (last accessed Nov. 13, 2023).


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      To that end, the district has already proven adept at handling multidistrict

litigation. Judge Dan Polster presided over In re: National Prescription Opiate

Litigation, MDL No. 2804 (J.P.M.L. 2017), In re: Gadolimium Contrast Dyes Products

Liability Litigation, MDL No. 1909 (J.P.M.L. 2008), and In re: Oral Sodium

Phosphate Solution-Based Products Liability Litigation, MDL No. 2066 (J.P.M.L.

2009); Judge Donald C. Nugent presided over In re: Kaba Simplex Lockst Marketing

and Sales Practices Litigation, MDL No. 2220 (J.P.M.L. 2011); and Judge Patricia A.

Gaughan presided over In re: Vertrue Inc. Marketing and Sales Practices Litigation,

MDL No. 2044 (J.P.M.L. 2009). Based on the number of multidistrict litigations

managed by the judges of the Northern District of Ohio, its Clerk’s office is well-

prepared to handle the administrative aspects of this matter.

             4.     The Northern District of Ohio has the most Suboxone film
                    actions already pending.

      The Northern District of Ohio has the most pending Suboxone film cases, and

additional cases will continue to be filed there, including by undersigned counsel.

Although Suboxone film is marketed and sold nationwide, Ohio bears a particularly

strong connection to the opioid epidemic underlying the Suboxone film cases. See In

re Nat’l Prescription Opiate Litig., 290 F. Supp. at 1379 (noting Ohio’s “strong factual

connection” to the litigation, “given that it has experienced a significant rise in the

number of opioid-related overdoses in the past several years”). 29


29 See also Lisa Clemans-Cope, Victoria Lynch, Emma Winiski, and Marni Epstein,

State Variation in Medicaid Prescriptions for Opioid Use Disorder from 2011 to 2018
(August                    2019)                      (available                   at
https://www.urban.org/sites/default/files/publication/100817/2019.08.19_av_state_m
edicaid_rx_oud_final_v3_4.pdf) (noting that Ohio was in the 90th percentile of states


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         Offering convenience and accessibility, minimal docket congestion, and

substantial experience with MDLs, consolidation of these actions to the United States

District Court for the Northern District of Ohio will uniquely serve the “just and

efficient conduct of these actions.” 28 U.S.C. § 1407(a).

         B.      Judge Calabrese’s well-rounded             experience   is   ideal   for
                 presiding over this litigation.

         The experience and knowledge of a particular judge is another important factor

to consider in determining the best transferee forum. See, e.g., In re “Factor VIII or

IX Concentrate Blood Prods.” Prod. Liab. Litig., 853 F. Supp. 454, 455 (J.P.M.L.

1993).

         The Honorable J. Philip Calabrese is eminently qualified and well-suited to

manage the complexity of an MDL. He has served in his current position since 2020

and previously practiced complex civil litigation. In his current position, he is a well-

regarded jurist for his temperament, knowledge, and efficient docket management.

He currently has the lowest number of pending civil cases in the district.

         Before his appointment to the federal bench, Judge Calabrese served as a judge

of the Cuyahoga County Court of Common pleas. He began his legal career by

servicing as a judicial clerk to the Honorable Alice M. Batchelder of the United States

Court of Appeals for the Sixth Circuit. He gained extensive practical experience

working at three large law firms, often focusing on complex civil litigation that

included class actions and multidistrict litigation, including product liability and



prescribing buprenorphine to Medicaid enrollees and the state with the fifth-highest
buprenorphine prescribing rate between 2011 and 2018) (last accessed Nov. 13, 2023).


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toxic torts. 30 He tried approximately 12 cases as a civil litigator. 31 Judge Calabrese

also serves as adjunct faculty at Case Western Reserve University School of Law

teaching a course on expert witnesses and scientific evidence, a topic highly relevant

to managing the Suboxone film actions. 32

      Judge Calabrese has two Suboxone actions assigned to him and has indicated

his willingness to preside over a Suboxone film MDL. Although this would be Judge

Calabrese’s first MDL as a judge, his qualifications and complex-civil-litigation

experience cannot be doubted. Further, he will be able to draw on his district

colleagues’ experience in managing such matters, including Judge Polster’s handling

of the opioid MDL. The availability of a capable jurist like him weighs in favor of

consolidation of these actions before him.

                                     CONCLUSION

      Plaintiffs respectfully request that the Panel transfer the Suboxone film

actions listed in the attached Schedule of Actions, and any tag-along cases, to the

Northern District of Ohio for coordinated or consolidated pretrial proceedings under

28 U.S.C. § 1407 before the Honorable J. Philip Calabrese.




30 Porter Wright, Calabrese Appointed to Cuyahoga County Common Pleas Court

(available at https://www.porterwright.com/media/calabrese-appointed-to-cuyahoga-
county-common-pleas-court/) (last accessed Nov. 13, 2023).
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